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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF IOWA
                                  CENTRAL DIVISION


  PRESIDENT DONALD J. TRUMP, an
  individual, REPRESENTATIVE
  MARIANNETTE MILLER-MEEKS, an                        Case No. 4:24-cv-00449-RGE-WPK
  individual, and FORMER STATE SENATOR
  BRADLEY ZAUN, an individual,
                                                      DES MOINES REGISTER & TRIBUNE
          Plaintiffs,                                 CO. AND GANNETT CO., INC.’S
                                                      ANSWER TO PLAINTIFF’S PETITION
  vs.

  J. ANN SELZER, and individual, SELZER &
  COMPANY, DES MOINES REGISTER AND
  TRIBUNE COMPANY, and GANNETT CO.,
  INC.,

          Defendants.



        Defendants Des Moines Register and Tribune Company and Gannett Co., Inc. (collectively

“Press Defendants”), by and through undersigned counsel, respond to the Petition of Plaintiff

President Donald J. Trump as follows:

                               PRELIMINARY STATEMENT

        On May 23, 2025, this Court entered its order denying Plaintiff’s Motion for Remand. (See

ECF No. 65; see also ECF No. 30.) The order vacated President Trump’s Amended Complaint.

(See ECF No. 65 at 11; see also ECF No. 23.) It further acknowledged the Court’s proper exercise

of jurisdiction over this dispute and the Court’s “virtually unflagging obligation to exercise it.”

(ECF No. 65 at 7, 10 (quoting Holbein v. TAW Enters., Inc., 983 F.3d 1049, 1060 (8th Cir. 2020)

(cleaned up)).)

        On June 30, 2025, despite a pending appeal and in violation of relevant caselaw and the

Federal Rules of Appellate Procedure, President Trump filed both a Notice of Voluntary Dismissal


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in this Court and a Dismissal of Petition for Permission to Appeal in the Eighth Circuit. President

Trump also filed a new Petition in the Iowa District Court for Polk County which is substantively

identical to the Amended Complaint that this Court has deemed a nullity. The Court should strike

President Trump’s Notice of Voluntary Dismissal for the reasons stated in Press Defendants’

Motion to Strike, (ECF. No. 72), and Press Defendants have similarly requested that the Eighth

Circuit strike President Trump’s Dismissal of Petition for Permission to Appeal.

       The filings made by President Trump on June 30, 2025, in this Court, the Eighth Circuit,

and the Iowa District Court for Polk County suggest that he will continue to engage in improper

and invalid procedural maneuvering to avoid this Court’s jurisdiction as well as adverse actions

by the federal courts. Cf. Cahalan v. Rohan, 423 F.3d 815, 818 (8th Cir. 2005) (“A party may not

dismiss simply to avoid an adverse decision or seek a more favorable forum.”) To help guard

against such impermissible conduct, Press Defendants file this Answer to further prohibit President

Trump from again seeking dismissal without leave of the Court following the conclusion of

proceedings before the Eighth Circuit. Press Defendants hereby submit this Answer to the

presently operative pleading—i.e., Plaintiff’s original Petition. (See ECF No. 1-1; see also ECF

No. 65 at 11 (deeming the Amended Complaint a “nullity”).)

       By filing this Answer, Press Defendants do not waive and expressly reserve all rights to

pursue dismissal of the currently pending pleading or any future superseding pleading on the

grounds stated in their pending Motion to Dismiss or any other grounds properly brought before

the Court. See Beary v. W. Publ’g Co., 763 F.2d 66, 68 (2d. Cir. 1985); see also U.S. Fid. & Guar.

Co. v. Bank of Bentonville, 29 F. Supp. 2d 553, 555 (W.D. Ark. 1998); Kar v. Safeco Ins. Co. of

Am., 2023 WL 4706008, at *2 (E.D. Mo. July 24, 2023); Vessel Sys., Inc. v. Sambucks, LLC, 2007




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WL 715773, at *2 (N.D. Iowa Mar. 6, 2007) (citing Beary); 5B Charles Alan Wright & Arthur R.

Miller, Federal Practice & Procedure § 1361.

                                  NATURE OF THE ACTION

        1.     This action, which arises under the Iowa Consumer Fraud Act, Iowa Code Chapter

714H, including § 714H.3(1) and related provisions, seeks accountability for brazen election

interference committed by the Defendants in favor of now-defeated former Democrat candidate

Kamala Harris (“Harris”) through use of a leaked and manipulated Des Moines

Register/Mediacom Iowa Poll conducted by Selzer and S&C, and published by DMR and Gannett

in the Des Moines Register on November 2, 2024 (the “Harris Poll”). See Brianne Pfannenstiel,

Iowa Poll: Kamala Harris leapfrogs Donald Trump to take lead near Election Day. Here’s how.

DES             MOINES               REGISTER               (Nov.              2,             2024),

https://www.desmoinesregister.com/story/news/politics/iowa-poll/2024/11/02/iowa-poll-

kamala-harris-leads-donald-trump-2024-presidential-race/75354033007/ (last visited Dec. 16,

2024) (the “Register Article”).

        ANSWER: Press Defendants admit that Plaintiff purports to bring a claim for alleged

violation of the Iowa Consumer Fraud Act, Iowa Code Chapter 714H. Press Defendants state that

the article referenced in Paragraph 1 speaks for itself, and Press Defendants deny the allegations

stated in Paragraph 1 to the extent they contradict or mischaracterize that article. Press Defendants

deny the remaining allegations stated in Paragraph 1.

        2.     Contrary to reality and defying credulity, Defendants’ Harris Poll was published

three days before Election Day and purported to show Harris leading President Trump in Iowa by

three points (see Register Article); President Trump ultimately won Iowa by over thirteen points.

See     Iowa   President,   ASSOCIATED      PRESS,    https://apnews.com/projects/election-results-




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2024/iowa/?r=0 (last visited Dec. 16, 2024). Before this astonishing sixteen-point polling miss

Selzer brazenly claimed: “It’s hard for anybody to say they saw this coming . . . . Harris has clearly

leaped into a leading position.” (See Register Article). However, as Selzer well knew, there was a

perfectly good reason nobody “saw this coming”: because a three-point lead for Harris in deep-

red Iowa was not reality, it was election-interfering fiction.

       ANSWER: Press Defendants state that the articles referred to in Paragraph 2 speak for

themselves, and Press Defendants deny the allegations stated in Paragraph 2 to the extent they

contradict or mischaracterize those articles. Press Defendants deny the remaining allegations stated

in Paragraph 2.

       3.      Yet, Selzer—who had prided herself on a mainstream reputation for accuracy

despite several far less publicized egregious polling misses in favor of Democrats—discussed

infra—would have the public believe it was merely a coincidence that one of the worst polling

misses of her career came just days before the most consequential election in memory, was leaked,

and happened to go against the Republican candidate. The Harris Poll was no “miss” but rather an

attempt to influence the outcome of the 2024 Presidential Election.

       ANSWER: Press Defendants deny the allegations stated in Paragraph 3.

       4.      President Trump’s resounding victory was consistent with Iowa’s recent electoral

history: he won Iowa by over eight points and nearly ten points, respectively, in the 2020 and 2016

Presidential Elections. See Iowa, CNN, https://www.cnn.com/election/2016/results/states/iowa

(last visited Dec. 16, 2024); Iowa, CNN, https://www.cnn.com/election/2020/results/state/iowa

(last visited Dec. 16, 2024).

       ANSWER: Press Defendants state that the 2020 and 2016 election results and articles

referred to in Paragraph 4 speak for themselves, and Press Defendants deny the allegations stated




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in Paragraph 4 to the extent they contradict or mischaracterize those election results or articles.

Press Defendants deny the remaining allegations stated in Paragraph 4.

         5.     Defendants and their cohorts in the Democrat Party hoped that the Harris Poll

would create a false narrative of inevitability for Harris in the final week of the 2024 Presidential

Election. Instead, the November 5 Election was a monumental victory for President Trump in both

the Electoral College and the Popular Vote, an overwhelming mandate for his America First

principles, and the consignment of the radical socialist agenda to the dustbin of history.

         ANSWER: Press Defendants deny the allegations stated in Paragraph 5.

         6.     Selzer, after over 35 years in the industry, retired in disgrace from polling less than

two weeks after this embarrassing rout. See Ben Brasch, Ann Selzer to step away from Iowa Poll

with     the    Des     Moines      Register,     WASHINGTON        POST      (Nov.     17,     2024),

https://www.washingtonpost.com/politics/2024/11/17/selzer-poll-iowa-election/ (last visited Dec.

16, 2024).

         ANSWER: Press Defendants state the article referred to in Paragraph 6 speaks for itself,

and Press Defendants deny the allegations stated in Paragraph 6 to the extent they contradict or

mischaracterize that article. Press Defendants deny the remaining allegations stated in Paragraph

6.

         7.     As Iowa Republican Party Chairman Jeff Kaufman observed: “Not only did

[Selzer] disrespect Iowa and our voters, but she caused Iowa to be laughed at by the entire

country.” See Jeff Kaufman, Trump wins, Ann Selzer loses, WASHINGTON EXAMINER (Nov. 13,

2024),            https://www.washingtonexaminer.com/opinion/3227498/trump-wins-ann-selzer-

loses/#google_vignette (last visited Dec. 16, 2024).




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       ANSWER: Press Defendants state the article referred to in Paragraph 7 speaks for itself,

and Press Defendants deny the allegations stated in Paragraph 7 to the extent they contradict or

mischaracterize that article. Press Defendants deny any remaining allegations stated in Paragraph

7.

       8.      For too long, left-wing pollsters have attempted to influence electoral outcomes

through manipulated polls that have unacceptable error rates and are not grounded in widely

accepted polling methodologies. While Selzer is not the only pollster to engage in this corrupt

practice, she had a huge platform and following and, thus, a significant and impactful opportunity

to deceive voters. As Selzer knows, this type of manipulation creates a narrative of inevitability

for Democrat candidates, increases enthusiasm among Democrats, compels Republicans to divert

campaign time and money to areas in which they are ahead, and deceives the public into believing

that Democrat candidates are performing better than they really are.

       ANSWER: Press Defendants deny the allegations stated in Paragraph 8.

       9.      The Democrat need for fake polling was even more acute than usual in the 2024

Election, given Harris’s many fatal weaknesses as a candidate and lack of appeal to critical swaths

of the traditional Democrat base. Her incessant use of “word salads”—i.e., jumbles of

exceptionally incoherent speech—only underscored the urgency for left-wing pollsters to try and

rescue Harris’s candidacy. See, e.g., Hanna Panreck, CNN panel critical of Kamala Harris’ town

hall performance: ‘World salad city’, CNN (Oct. 24, 2024) https://www.foxnews.com/media/cnn-

panel-critical-kamala-harris-town-hall-performance-word-salad-city (last visited Dec. 16, 2024);

Ian Hanchett, Van Jones: Harris Had Needless ‘Evasions’ During CNN Town Hall, ‘Word Salad

Stuff’ Is Annoying, BREITBART (Oct. 24, 2024), https://www.breitbart.com/clips/2024/10/24/van-

jones-harris-had-needless-evasions-during-cnn-town-hall-word-salad-stuff-is-annoying/         (last




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visited Dec. 16, 2024); Ian Hanchett, Axelrod: Harris Gives a ‘Kind of’ ‘Word Salad’ ‘When She

Doesn’t Want to Answer a Question’ Like on Israel, BREITBART (Oct. 24, 2024),

https://www.breitbart.com/clips/2024/10/24/axelrod-harris-gives-a-kind-of-word-salad-when-

she-doesnt-want-to-answer-a-question-like-on-israel/ (last visited Dec. 16, 2024).

       ANSWER: Press Defendants state the articles referred to in Paragraph 9 speak for

themselves, and Press Defendants deny the allegations stated in Paragraph 9 to the extent they

contradict or mischaracterize those articles. Press Defendants deny the remaining allegations stated

in Paragraph 9.

       10.     Millions of Americans, including Plaintiff, residents of Iowa, and Iowans who

contributed to President Trump’s Campaign and its affiliated entities (the “Trump 2024

Campaign”), were deceived by the doctored Harris Poll. President Trump has made impactful,

widely read statements on the matter, writing on Truth Social, inter alia, that Selzer’s misconduct

caused “great distrust and uncertainty at a very critical time.” See President Donald J. Trump,

Truth Social (Dec. 9, 2024); see also Harris Now Leads Trump, DES MOINES REGISTER (Nov. 3,

2024), at 1, 6A (excerpt shown below).

       ANSWER: Press Defendants state the Truth Social post and article referred to in Paragraph

10 speak for themselves, and Press Defendants deny the allegations stated in Paragraph 10 to the

extent they contradict or mischaracterize that post or that article. Press Defendants deny the

remaining allegations stated in Paragraph 10.

       11.     Selzer’s polling “miss” was not an astonishing coincidence—it was intentional. As

President Trump observed: “She knew exactly what she was doing.” Id.

       ANSWER: Press Defendants state the Truth Social post referred to in Paragraph 11 speaks

for itself, and Press Defendants deny the allegations stated in Paragraph 11 to the extent they




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contradict or mischaracterize that post. Press Defendants deny the remaining allegations stated in

Paragraph 11.

       12.      Defendants’ conduct violated Iowa Code § 714H.3(1), pursuant to which “a person

shall not engage in a practice or act the person knows or reasonably should know is an unfair

practice, deception, fraud, false pretense, or false promise, or the misrepresentation, concealment,

suppression, or omission of a material fact, with intent that others rely upon [same] . . . .”

       ANSWER: Press Defendants state the Iowa Code speaks for itself, and Press Defendants

deny the allegations stated in Paragraph 12 to the extent they contradict or mischaracterize the

Iowa Code. Press Defendants deny the remaining allegations stated in Paragraph 12.

       13.      Accordingly, President Trump brings this action to redress the immense harm

caused to himself, to the Trump 2024 Campaign, and to millions of citizens in Iowa and across

America by the Harris Poll and the Defendants.

       ANSWER: Press Defendants deny the allegations stated in Paragraph 13.

       14.      Further, this action is necessary to deter Defendants and their fellow radicals from

continuing to act with corrupt intent in releasing polls manufactured for the purpose of skewing

election results in favor of Democrats.

       ANSWER: Press Defendants deny the allegations stated in Paragraph 14.

                                             PARTIES

       15.      President Trump is a citizen of the United States, a resident of the State of Florida,

the 45th President of the United States of America, and, as the landslide winner of the 2024

Presidential Election, the President-elect and incoming 47th President of the United States.

       ANSWER: Press Defendants deny that President Trump won the 2024 Presidential

Election in a “landslide.” Press Defendants deny that President Trump is the “President-elect and




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incoming 47th President of the United States” and affirmatively state that President Trump is

currently serving as the 47th President of the United States. Press Defendants admit the remaining

allegations stated in Paragraph 15.

       16.     Defendant Selzer is a natural person, a citizen of Iowa, and is the founder and

president of S&C. Selzer worked as the pollster for the Des Moines Register for many years,

overseeing all the Register’s polls from 1987 to 2024. She has also conducted polls for The Detroit

Free Press, Bloomberg News, and the Indianapolis Star.

       ANSWER: Press Defendants state that the allegations in Paragraph 16 are directed to

another Defendant, so no response is required. To the extent a response is required, Press

Defendants state they lack sufficient knowledge or information to form a belief as to the truth of

the allegations stated in Paragraph 16 and, therefore, they deny them.

       17.     Defendant S&C is an Iowa domestic corporation that does business in Iowa

generally, and in Polk County specifically. Selzer has published and released her polls to the public

by and through S&C.

       ANSWER: Press Defendants state that the allegations in Paragraph 17 are directed to

another Defendant, so no response is required. To the extent a response is required, Press

Defendants state they lack sufficient knowledge or information to form a belief as to the truth of

the allegations stated in Paragraph 17 and, therefore, they deny them.

       18.     Defendant DMR is an Iowa domestic corporation that does business in Iowa

generally and in Polk County specifically. DMR owns and publishes the Des Moines Register.

       ANSWER: Press Defendants admit the allegations stated in Paragraph 18.

       19.     Defendant Gannett is a Delaware corporation headquartered in Virginia that does

business in Iowa generally, and in Polk County specifically. Gannett owns DMR and myriad other




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publications, including the widely read and nationally distributed USA Today, and participates in

the operations of the Des Moines Register, as evidenced by its investigation of the leak of the

Harris Poll, discussed infra.

       ANSWER: Press Defendants deny that Gannett’s corporate headquarters is in Virginia.

Press Defendants affirmatively state that Gannett’s corporate headquarters are in New York. Press

Defendants admit that Defendant Des Moines Register & Tribune Co. is an indirect, wholly owned

subsidiary and deny that Gannett “participates in the operations of the Des Moines Register.” Press

Defendants deny the remaining allegations stated in Paragraph 19.

                                JURISDICTION AND VENUE

       20.     This Court has jurisdiction over this action under Iowa Code § 714.16(7). The

amount in controversy exceeds the jurisdictional amount for a small claims action. Polk County is

a proper venue because this is a “county where the transaction or any substantial portion of the

transaction occurred” and where Defendants are “doing business.” Iowa Code § 714.16(10).

       ANSWER: Press Defendants state the allegations in Paragraph 20 are legal conclusions to

which no response is required. To the extent a response is required, Press Defendants deny the

allegations stated in Paragraph 20.

       21.     Defendants reside in Iowa or are incorporated in Iowa, engage in substantial

business in Iowa, and target Iowa consumers in the conduct of their business.

       ANSWER: Press Defendants state that whether they “target Iowa consumers in the

conduct of their business” is a legal conclusion to which no response is required. To the extent a

response is required, Press Defendants deny that allegation. Press Defendants deny that Gannett

resides, is incorporated, or engages in substantial business in Iowa. Press Defendants admit the

remaining allegations stated in Paragraph 21.




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                                     FACTUAL ALLEGATIONS

                           Selzer’s Misleading Reputation for Objectivity

         22.     Selzer has long enjoyed a celebrated mainstream reputation for accurate polling.

For example, in 2016, Clare Malone of FiveThirtyEight described Selzer as “the best pollster in

politics.” See Clare Malone, Ann Selzer Is The Best Pollster In Politics, FIVETHIRTYEIGHT (Jan.

27, 2016), https://fivethirtyeight.com/features/selzer/ (last visited Dec. 16, 2024). In a June 2024

rating of 25 pollsters, Nate Silver rated Selzer first with an A+ score. See Nate Silver, Pollster

ratings,       Silver     Bulletin    style,      SILVER     BULLETIN       (June      12,    2024),

https://www.natesilver.net/p/pollster-ratings-silver-bulletin (last visited Dec. 16, 2024).

         ANSWER: Press Defendants state the articles referred to in Paragraph 22 speak for

themselves, and Press Defendants deny the allegations stated in Paragraph 22 to the extent they

contradict or mischaracterize those articles. Press Defendants deny any remaining allegations

stated in Paragraph 22.

         23.     However, underneath the surface, Selzer has quietly used her polls to try and

influence recent races in favor of Democrats, receiving ample cover from the legacy media and

thus lacking accountability. As Chairman Kaufman observed after President Trump’s

commanding victory: “For too long, we have let Ann Selzer use her polls to influence races. She

is fully aware that her polls can influence voters.” See Kaufman, Trump wins, Ann Selzer loses,

supra.

         ANSWER: Press Defendants state the article referred to in Paragraph 23 speaks for itself,

and Press Defendants deny the allegations stated in Paragraph 23 to the extent they contradict or

mischaracterize that article. Press Defendants deny the remaining allegations stated in Paragraph

23.




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         24.    In 2022, Selzer attempted to influence the outcome of the Iowa Attorney General

Election between current Republican Attorney General Brenna Bird and then-Democrat incumbent

Tom Miller (who had served in that capacity for a cumulative total of 40 years). To do so, Selzer

released a poll that missed the mark by an even more astonishing amount than the Harris Poll—

eighteen points. See Stephen Gruber-Miller, Iowa Poll: Tom Miller leads Brenna Bird by 16

percentage points in attorney general race, DES MOINES REGISTER (Oct. 25, 2022),

https://www.desmoinesregister.com/story/news/politics/iowa-poll/2022/10/25/iowa-

poll-attorney-general-election-tom-miller-brenna-bird-2022/69563197007/ (last visited Dec. 16,

2024) (“The poll was conducted Oct. 9-12 by Selzer & Co.”). Yet, two weeks after Selzer declared

that Bird trailed Miller by sixteen points, Bird defeated Miller by two points. See Stephen Gruber-

Miller, Republican Brenna Bird defeats Tom Miller in Iowa attorney general race, DES MOINES

REGISTER                           (Nov.                         9,                         2022),

https://www.desmoinesregister.com/story/news/politics/elections/2022/11/09/brenna-bird-

topples-incumbent-tom-miller-in-iowa-attorney-general-race/69610291007/ (last visited Dec. 16,

2024).

         ANSWER: Press Defendants state the election results and articles referred to in Paragraph

24 speak for themselves, and Press Defendants deny the allegations stated in Paragraph 24 to the

extent they contradict or mischaracterize those election results or articles. Press Defendants deny

the remaining allegations stated in Paragraph 24.

         25.    In the 2018 Iowa governor’s race between Democrat Fred Hubbell and Republican

Kim Reynolds, Selzer showed Hubbell up by two points in the final November poll. See Brianne

Pfannestiel, Just days before election, Iowa poll shows Fred Hubbell with 2-point lead over Kim

Reynolds,          DES          MOINES          REGISTER           (Nov.         3,         2018),




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https://www.desmoinesregister.com/story/news/politics/iowa-poll/2018/11/03/iowa-poll-

governor-race-kim-reynolds-fred-hubbell-jake-porter-selzer-iowa-election-2018-

medicaid/1871874002/ (last visited Dec. 16, 2024). Reynolds won by three points. See Iowa

Governor Election Results 2018, POLITICO (Dec. 9, 2018), https://www.politico.com/election-

results/2018/iowa/governor/ (last visited Dec. 16, 2024).

          ANSWER: Press Defendants state the election results and articles referred to in Paragraph

25 speak for themselves, and Press Defendants deny the allegations stated in Paragraph 25 to the

extent they contradict or mischaracterize those election results or articles. Press Defendants deny

any remaining allegations stated in Paragraph 25.

          26.      In the 2020 U.S. Senate race, Selzer showed Republican Joni Ernst behind

Democrat Theresa Greenfield by three points in June and three points in September. See Brianne

Pfannestiel, Iowa Poll: Theresa Greenfield narrowly leads Joni Ernst in hyper-competitive Senate

race,           DES              MOINES            REGISTER         (Sept.         19,           2020),

https://www.desmoinesregister.com/story/news/politics/iowa-poll/2020/09/19/iowa-poll-theresa-

greenfield-narrowly-leads-joni-ernst-senate-race/3486994001/ (last visited Dec. 16, 2024). Selzer

then belatedly put Ernst ahead by four points a little over a month later in the final poll. See Brianne

Pfannestiel, Iowa Poll: Republican Joni Ernst pulls ahead of Democrat Theresa Greenfield in

closing     days     of   U.S.    Senate   Race,     DES   MOINES    REGISTER     (Oct.   31,    2020),

https://www.desmoinesregister.com/story/news/politics/iowa-poll/2020/10/31/election-

2020-iowa-poll-greenfield-ernst-us-senate-race-voters/6055545002/ (last visited Dec. 16, 2024).

Notwithstanding Selzer’s efforts to create suspense where there was none, Ernst won the race by

a very comfortable seven points. See Iowa U.S. Senate Results 2020, POLITICO (Jan. 6, 2021),

https://www.politico.com/2020-election/results/iowa/senate/ (last visited Dec. 16, 2024).




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         ANSWER: Press Defendants state the election results and articles referred to in Paragraph

26 speak for themselves, and Press Defendants deny the allegations stated in Paragraph 26 to the

extent they contradict or mischaracterize those election results or articles. Press Defendants deny

the remaining allegations stated in Paragraph 26.

         27.      These races were not a matter of being wrong in the end—they exposed that Selzer

and the rest of the Defendants were manufacturing fake support for Democrat candidates.

         ANSWER: Press Defendants deny the allegations stated in Paragraph 27.

                                          The Harris Poll

         28.      On the evening of November 2, 2024, when the Harris Poll was unveiled in the

Register Article, President Trump led Harris in Iowa by any objective, reasonable, and reliable

measure.

         ANSWER: Press Defendants deny the allegations stated in Paragraph 28.

         29.      Notably, up until Defendants released the Harris Poll, Selzer’s previous 2024

Presidential Election polls published in the Des Moines Register showed President Trump leading.

See Brianne Pfannestiel, Trump’s Iowa lead shrinks significantly as Kamala Harris replaced

Biden,         Iowa   Poll    shows,     DES     MOINES      REGISTER     (Sept.    15,      2024),

https://www.desmoinesregister.com/story/news/politics/iowa-poll/2024/09/15/iowa-poll-donald-

trump-iowa-lead-shrinks-as-kamala-harris-replaces-joe-biden/75180245007/ (last visited Dec. 16,

2024). Although Selzer was trying to generate fake enthusiasm and momentum for Harris—she

characterized Harris’s supposed four-point deficit as a “dramatic turnaround from Joe Biden’s

double-digit deficit”—this September poll still had President Trump up by four points. Id.

         ANSWER: Press Defendants state the poll results and article referred to in Paragraph 29

speak for themselves, and Press Defendants deny the allegations stated in Paragraph 29 to the




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extent they contradict or mischaracterize those poll results or that article. Press Defendants deny

the remaining allegations stated in Paragraph 29.

         30.    The premise of Selzer’s poll—that Harris had somehow turned Joe Biden’s

eighteen-point deficit into a mere four-point deficit—was so implausible that no objective pollster

could have honestly advanced it. “‘I wouldn’t say 4 points is comfortable’ for Trump, said pollster

J. Ann Selzer, president of Selzer & Co. ‘The race has tightened significantly.’” Id.

         ANSWER: Press Defendants state the article referred to in Paragraph 30 speaks for itself,

and Press Defendants deny the allegations stated in Paragraph 30 to the extent they contradict or

mischaracterize that article. Press Defendants deny the remaining allegations stated in Paragraph

30.

         31.    This poll—purporting to show that President Trump’s commanding lead all but

vanished upon Harris’s entry into the race—was indicative of Defendants’ intent, even as early as

September, to paint an incorrect and cynical picture of the downward trajectory for President

Trump in the face of a supposedly turbocharged Harris Campaign. In truth, Harris’s hollow

message of “joy” was missing badly with voters across all demographics and regions, who craved

actual policy changes that only President Trump can and will deliver. See Herald readers, Message

of ‘joy’ at Democratic Convention hides Kamala Harris’ poor track record, MIAMI HERALD (Aug.

27, 2024), https://www.miamiherald.com/opinion/article291479270.html (last visited Dec. 16,

2024).

         ANSWER: Press Defendants state the article referred to in Paragraph 31 speaks for itself,

and Press Defendants deny the allegations stated in Paragraph 31 to the extent they contradict or

mischaracterize that article. Press Defendants deny the remaining allegations stated in Paragraph

31.




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        32.    Meanwhile, every other mainstream Iowa poll also showed President Trump

comfortably ahead by significantly more than Selzer presented. A poll conducted September 2728,

2024 by Cygnal showed President Trump ahead by seven points; a poll conducted November 1-2,

2024 by Emerson College showed President Trump ahead by nine points; a poll conducted

November 2-3, 2024 by InsiderAdvantage showed President Trump ahead by seven points; a poll

conducted November 2-3, 2024 by SoCal Strategies showed President Trump ahead by seven

points; and a second poll conducted November 2-3, 2024 by SoCal Strategies showed President

Trump     ahead     by     eight   points.    See      Iowa    Latest    Polls,   FIVETHIRTYEIGHT,

https://projects.fivethirtyeight.com/polls/iowa/ (last visited Dec. 16, 2024).

        ANSWER: Press Defendants state the poll results and article referred to in Paragraph 32

speak for themselves, and Press Defendants deny the allegations stated in Paragraph 32 to the

extent they contradict or mischaracterize those poll results or that article. Press Defendants deny

the remaining allegations stated in Paragraph 32.

        33.    In sharp contrast, the Harris Poll then falsely showed Harris leading President

Trump in Iowa with just three days to go, which suggested major, in reality nonexistent,

momentum for Harris nationwide. In truth, the Harris Poll, was just a piece of political theater

concocted by an individual—Selzer—who, as a supposedly legendary pollster with the power to

shape public perception of elections, should have known better than to poison the electorate with

a poll that was nothing more than a work of fantasy. See Shelby Talcott, Gannett probes possible

leak      of      bombshell        Iowa        poll,      SEMAFOR         (Nov.         10,    2024),

https://www.semafor.com/article/11/10/2024/gannett-probes-possible-leak-of-bombshell-iowa-

poll (last visited Dec. 16, 2024) (“The Des Moines Register is legendarily careful with Selzer’s

polls, which shape perceptions of crucial early caucuses in both parties . . . .”).




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       ANSWER: Press Defendants state the poll results and article referred to in Paragraph 33

speak for themselves, and Press Defendants deny the allegations stated in Paragraph 33 to the

extent they contradict or mischaracterize those poll results or that article. Press Defendants deny

the remaining allegations stated in Paragraph 33.

       34.     The Harris Poll wasn’t irregular just because it was wrong by an appalling sixteen

points—indeed, not coincidentally, the circumstances under which the Harris Poll became public

also broke DMR’s longstanding policy of secrecy with Selzer’s polls, giving rise to a clear

inference that the Harris Poll was intended to aid Harris and harm President Trump.

       ANSWER: Press Defendants deny the allegations stated in Paragraph 34.

       35.     The Harris Poll, a bombshell “making nationwide news and giving Democrats what

would turn out to be false hope,” was leaked by Defendants to Democrat operatives earlier in the

day on November 2, many hours before the Register Article appeared. Id. (“But roughly 45 minutes

prior to the poll’s public release, a stray tweet predicted the poll’s findings. Its author said that

Illinois Governor JB Pritzker, a Duke University alumnus, had mentioned the not-yet-released poll

during a Duke Democrats meeting that day.”). This breach resulted in Gannett, DMR’s parent

company, investigating “how Pritzker and possibly other political actors could have learned of the

poll early, and is reviewing employees’ emails . . . .” See Talcott, Gannett probes possible leak of

bombshell Iowa poll, supra; Yael Halon, Company behind Selzer poll launches probe into

potential leak after results published on X prior to publishing, FOX NEWS (Nov. 11, 2024),

https://www.foxnews.com/media/company-behind-seltzer-poll-launches-probe-potential-leak-

after-results-posted-x-prior-publishing (last visited Dec. 16, 2024) (“The company behind the Des

Moines Register, which published Ann Selzer’s poorly-aged Iowa poll, has launched an

investigation after the poll’s findings were allegedly leaked on X prior to publishing . . . .”).




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       ANSWER: Press Defendants state the articles referred to in Paragraph 35 speak for

themselves, and Press Defendants deny the allegations stated in Paragraph 35 to the extent they

contradict or mischaracterize those articles. Press Defendants deny the remaining allegations stated

in Paragraph 35.

       36.     The “stray tweet” referenced in the Semafor article was posted by

“Ryan@IllinoisLib” at 6:15 p.m. EST on November 2, 2024, and has now been viewed over

1,000,000 times, stating: See https://x.com/IllinoisLib/status/1852837036597948760 (last visited

Dec. 16, 2024).

       ANSWER: Press Defendants state the tweet referenced in Paragraph 36 speaks for itself,

and Press Defendants deny the allegations stated in Paragraph 36 to the extent they contradict or

mischaracterize that tweet. Press Defendants deny the remaining allegations stated in Paragraph

36.

       37.     It is clear that the Harris Poll, unlike Defendants’ other polls, was leaked because

the Harris Poll was created by Selzer and published by DMR for maximum “shock and awe”

political impact rather than accuracy or reliability. It is indeed no coincidence that Defendants’

most significant polling “miss” also happened to be the one that would be leaked to cause as much

harm to the electoral process as possible—and one that induced the legacy media to go “all in” and

treat the Harris Poll as a “canary in the coal mine” for President Trump. See Montage, Media goes

all in on Iowa poll showing Harris lead, sees ‘canary in the coal mine’ for Trump, FOX NEWS

(Nov. 4, 2024), https://www.foxnews.com/video/6364191963112 (last visited Dec. 16, 2024)

(“MSNBC, CNN and the hosts of ‘The View’ went all in on the results of a new Des Moines

Register poll that found Vice President Kamala Harris leading Donald Trump by three points in

Iowa.”).




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         ANSWER: Press Defendants state the article referred to in Paragraph 37 speaks for itself,

and Press Defendants deny the allegations stated in Paragraph 37 to the extent they contradict or

mischaracterize that article. Press Defendants deny the remaining allegations stated in Paragraph

37.

         38.    Indeed, as intended by Defendants, the Harris Poll grabbed national and

international headlines. See, e.g., Dan Mangan, Shock poll shows Harris leading Trump in Iowa,

CNBC (Nov. 2, 2024), https://www.nbcbayarea.com/news/business/money-report/shock-poll-

shows-harris-leading-tump-in-iowa/3697783/?os=io...&reapp (last visited Dec. 16. 2024):

Chidanand Rajghatta, Ayya va! Shock poll in non-battleground state shows Kamala winning,

TIMES OF INDIA (Nov. 3, 2024), https://timesofindia.indiatimes.com/world/us/ayya-va-shock-poll-

in-non-battleground-state-shows-kamala-winning/articleshow/114914960.cms (last visited Dec.

16, 2024); Nate Silver, What ‘Shocking New Iowa Poll Means. for Kampala Harris’ Chances,

NEWSWEEK (Nov. 2, 2024) https://www.newsweek.com/what-shocking-new-iowa-poll-means-

kamala-harris-chances-nate-silver-1979244 (last visited Dec. 16, 2024); Brie Stimson, Shock Poll

has Harris leading Trump in Iowa with 3-point shift toward vice president in red state, FOX NEWS

(Nov. 2, 2024) https://www.foxnews.com/politics/shock-poll-harris-leading-trump-iowa-3-point-

shift-toward-vice-president-red-state.amp (last visited Dec. 16, 2024); Jennifer Agiesta, Trump no

longer leads in a state he carried twice, according to new Iowa Poll, CNN POLITICS (Nov. 2,

2024), https://www.cnn.com/2024/11/02/politicthowa-poll-harris-tiump/index.html (last visited

Dec. 16 2024); Sara Dorn, Why Outler Poll Showing Harris Winning Iowa Could Spell Trouble

For Trump, FORBES (Nov. 3, 2024) https://www.forbes.com/sites/saradorn/2024/11/03/why-

outlier-poll-showing-harris-winning-iowa-could-spell-trouble-for-trump/ (last visited Dec. 16,

2024).




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       ANSWER: Press Defendants state the articles referred to in Paragraph 38 speak for

themselves, and Press Defendants deny the allegations stated in Paragraph 38 to the extent they

contradict or mischaracterize those articles. Press Defendants deny any remaining allegations

stated in Paragraph 38.

       39.      After President Trump’s historic victory, Selzer, aided and abetted by DMR and

Gannett, attempted to sidestep her disastrous and deceitful Harris Poll with vacuous platitudes and

discussion about her next career moves. See J. Ann Selzer, Pollster Ann Selzer ending election

polling, moving ‘to other ventures and opportunities,’ DES MOINES REGISTER (Nov. 17, 2024),

https://www.desmoinesregister.com/story/opinion/columnists/2024/11/17/ann-selzer-conducts-

iowa-poll-ending-election-polling-moving-to-other-opportunities/76334909007/ (last visited Dec.

16, 2024). In reality, Selzer quit the polling industry in disgrace after an attempt at election

interference.

       ANSWER: Press Defendants state the article referred to in Paragraph 39 speaks for itself,

and Press Defendants deny the allegations stated in Paragraph 39 to the extent they contradict or

mischaracterize that article. Press Defendants deny the remaining allegations stated in Paragraph

39.

       40.      Further, lacking any sensible or innocent explanation for the Harris Poll, the Des

Moines Register could only weakly offer that “[t]o date, no likely single culprit has emerged to

explain the wide disparity.” See Carol Hunter, An update from the editor: What a review of the

pre-election    Iowa      Poll   has   found,   DES   MOINES    REGISTER     (Nov.    17,   2024),

https://www.desmoinesregister.com/story/opinion/columnists/from-the-

editor/2024/11/17/editors-update-what-a-review-of-the-pre-election-iowa-poll-has-

found/76300644007/ (last visited Dec. 16, 2024).




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       ANSWER: Press Defendants state the article referred to in Paragraph 40 speaks for itself,

and Press Defendants deny the allegations stated in Paragraph 40 to the extent they contradict or

mischaracterize that article. Press Defendants deny the remaining allegations stated in Paragraph

40.

       41.     Selzer, aware that there is no innocent explanation for the Harris Poll, continues to

try and talk her way out of the disastrous fiction she unleashed on the public. See Hanna Panreck,

Former pollster Ann Selzer hits back at criticisms over Iowa poll: ‘They are accusing me of a

crime,’ FOX NEWS (Dec. 15, 2024), https://www.foxnews.com/media/former-pollster-ann-selzer-

hits-back-criticisms-over-iowa-poll-they-accusing-me-crime (last visited Dec. 16, 2024).

Appearing on the Iowa Press, Selzer remarked: “Well, I’m not here to break any news. If you were

hoping that I had landed one exactly why things went wrong, I have not.” See J. Ann Selzer, IOWA

PRESS (Dec. 13, 2024), https://www.iowapbs.org/shows/iowapress/iowa-press/episode/11885/j-

ann-selzer (last visited Dec. 16, 2024). Later, Selzer inadvertently revealed the root of the problem,

that the Harris Poll was bought and paid for: “And the polling industry is predicated on getting

people to pay money for their products.” Id.

       ANSWER: Press Defendants state the articles referred to in Paragraph 41 speak for

themselves, and Press Defendants deny the allegations stated in Paragraph 41 to the extent they

contradict or mischaracterize those articles. Press Defendants deny the remaining allegations stated

in Paragraph 41.

       42.     The truth is that there is no sensible or innocent explanation for the Harris Poll

since, as Manhattan Institute senior fellow James Piereson wrote, Selzer’s “miss” was beyond

extreme:




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         The Selzer Poll, with a margin of error of 3.4, missed the real outcome by 16 points,

         or by as many as five standard deviations from the true result as revealed on election

         day. What are the odds of drawing such a sample by legitimate means? Answer:

         roughly one time in 3.5 million trials. In other words, given these odds, the results

         in the Iowa poll likely did not come about by “honest error.”

See James Piereson, Statistical questions about the Iowa poll, THE NEW CRITERION (Nov. 12,

2024), https://newcriterion.com/dispatch/statistical-questions-about-the-iowa-poll/ (last visited

Dec. 16, 2024).

         ANSWER: Press Defendants state the article referred to in Paragraph 42 speaks for itself,

and Press Defendants deny the allegations stated in Paragraph 42 to the extent they contradict or

mischaracterize that article. Press Defendants deny the remaining allegations stated in Paragraph

42.

         43.    Selzer’s deceptive “miss” caused extensive harm:

         It is more likely that someone deliberately manipulated the sample so that it

         included too many Democrats, or simply made up the numbers as they came in for

         the purpose of giving confidence to Harris voters and worry for Trump supporters,

         or to bring national attention to a poll taken in a state not regarded as competitive.

         The poll did receive national attention and was widely discussed. Selzer appeared

         on television interviews to talk about the poll and its implications. If the goal was

         to promote the poll, then the gambit succeeded—at least until election day, when it

         was revealed to be ridiculously far off the mark.

Id.




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       ANSWER: Press Defendants state the article referred to in Paragraph 43 speaks for itself,

and Press Defendants deny the allegations stated in Paragraph 43 to the extent they contradict or

mischaracterize that article. Press Defendants deny the remaining allegations stated in Paragraph

43.

       44.     Indeed, Selzer did appear on television interviews, where she shamelessly

promoted her Harris Poll to drum up Democrat fervor while feigning shock at her own findings,

most notably on MSNBC with left-wing extremist Rachel Maddow. As Selzer had intended, a

giddy Maddow—like other Democrat-aligned commentators who reported on the Harris Poll —

spread manufactured enthusiasm and hope to MSNBC’s overwhelmingly Democrat viewers. “And

the reason this is consequential to our psyche is that if this is accurate—and if anybody is accurate

it is likely to be Ann Selzer in the Iowa poll—if this is accurate—this implies that Harris might be

winning Iowa.” See Rachel Maddow, ‘Shock result’: Maddow on bombshell Iowa poll with Harris

leading Trump, MSNBC (Nov. 3, 2024), https://www.msnbc.com/msnbc/watch/-shock-result-

maddow-on-bombshell-iowa-poll-with-harris-leading-trump-223450181755 (last visited Dec. 16,

2024). (Emphasis added).

       ANSWER: Press Defendants state the article referred to in Paragraph 44 speaks for itself,

and Press Defendants deny the allegations stated in Paragraph 44 to the extent they contradict or

mischaracterize that article. Press Defendants deny the remaining allegations stated in Paragraph

44.

       45.     Maddow was perceptive about one thing: the Harris Poll was consequential, but for

all the wrong reasons. Selzer, who Maddow breathlessly called a “living bullseye,” carried more

than enough weight to shift public perception about the race. Id.




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        ANSWER: Press Defendants state the article referred to in Paragraph 45 speaks for itself,

and Press Defendants deny the allegations stated in Paragraph 45 to the extent they contradict or

mischaracterize that article. Press Defendants deny the remaining allegations stated in Paragraph

45.

        46.     Ironically, as Maddow attempted to put the magnitude of the Harris Poll in

perspective for her suddenly rejuvenated audience, she only underscored why the Harris Poll was

a partisan fiction. “Iowa is a State where neither campaign has spent any time or resources since

the primaries. They don’t have a ground game up there. They don’t have ads up there. Trump won

Iowa by eight points last time and nine points the time before that. Nobody thinks of it as a swing

state . . . . but here she is with a lead?” Id.

        ANSWER: Press Defendants state the article referred to in Paragraph 46 speaks for itself,

and Press Defendants deny the allegations stated in Paragraph 46 to the extent they contradict or

mischaracterize that article. Press Defendants deny the remaining allegations stated in Paragraph

46.

        47.     Maddow then welcomed Selzer to the program, with the pollster immediately

complimenting Maddow’s perspective on the Harris Poll as “picture perfect.” Id. Selzer added: “I

don’t see how anybody would look at those numbers and the history in Iowa in the past eight to

twelve years and think that these numbers could have been foretold.” Id. Of course, the numbers

could not have been foretold because they weren’t possible, they were fake.

        ANSWER: Press Defendants state the article referred to in Paragraph 47 speaks for itself,

and Press Defendants deny the allegations stated in Paragraph 47 to the extent they contradict or

mischaracterize that article. Press Defendants deny the remaining allegations stated in Paragraph

47.




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       48.     Nor can Selzer hide behind feeble excuses about the purported difficulty of polling

in races involving President Trump—the Harris Poll wasn’t Selzer’s only inexplicable, flagrant

“miss” in favor of a Democrat candidate in the 2024 election cycle. The Harris Poll was one of

three massive “misses” favoring Democrats this cycle.

       ANSWER: Press Defendants deny the allegations stated in Paragraph 48.

       49.     In the race for Iowa’s 1st Congressional District between incumbent Republican

Mariannette Miller-Meeks and Democrat challenger Christina Bohannan, Selzer projected

Bohannan with a sixteen-point lead over Miller-Meeks, according to a poll published by the Des

Moines Register on November 3, 2024. See Stephen Gruber-Miller, Iowa poll: Democrats are

preferred over Republicans in 2 of 4 congressional districts, DES MOINES REGISTER (Nov. 3,

2024), https://www.desmoinesregister.com/story/news/politics/iowa-poll/2024/11/03/iowa-poll-

democrats-preferred-over-republicans-congress-nunn-baccam-miller-meeks-

bohannan-hinson/75988058007/ (last visited Dec. 16, 2024).

       ANSWER: Press Defendants state the poll results and article referred to in Paragraph 49

speak for themselves, and Press Defendants deny the allegations stated in Paragraph 49 to the

extent they contradict or mischaracterize those poll results or that article. Press Defendants deny

the remaining allegations stated in Paragraph 49.

       50.     Following a recount in what proved to be a historically tight race, Miller-Meeks

prevailed by 0.2%. See Marissa Payne, Recount affirms Mariannette Miller-Meeks’ win over

Christina    Bohannan    in   1st   District,   DES   MOINES     REGISTER    (Nov.    27,   2024),

https://www.desmoinesregister.com/story/news/politics/elections/2024/11/27/iowa-

election-results-mariannette-miller-meeks-wins-congressional-1st-district-recount/76595052007/




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(last visited Dec. 16, 2024). This outcome meant that Selzer’s poll had been off by a whopping

sixteen points—the same amount of the “miss” in the Harris Poll, also favoring the Democrat.

        ANSWER: Press Defendants state the election results and article referred to in Paragraph

50 speak for themselves, and Press Defendants deny the allegations stated in Paragraph 50 to the

extent they contradict or mischaracterize those election results or that article. Press Defendants

deny the remaining allegations stated in Paragraph 50.

        51.     But that was not all. In the race for Iowa’s 3rd Congressional District between

incumbent Republican Zach Nunn and Democrat challenger Lanon Baccam, Selzer projected

Baccam with a seven-point lead over Nunn, according to another poll published by the Des Moines

Register on November 3, 2024. See Stephen Gruber-Miller, Iowa poll: Democrats are preferred

over Republicans in 2 of 4 congressional districts, DES MOINES REGISTER (Nov. 3, 2024),

https://www.desmoinesregister.com/story/news/politics/iowa-poll/2024/11/03/iowa-poll-

democrats-preferred-over-republicans-congress-nunn-baccam-miller-meeks-bohannan-

hinson/75988058007/ (last visited Dec. 16, 2024).

        ANSWER: Press Defendants state the poll results and article referred to in Paragraph 51

speak for themselves, and Press Defendants deny the allegations stated in Paragraph 51 to the

extent they contradict or mischaracterize those poll results or that article. Press Defendants deny

the remaining allegations stated in Paragraph 51.

        52.     Notwithstanding Selzer’s poll, Nunn prevailed by four points. See Stephen Gruber-

Miller and Courtney Crowder, Republican Zach Nunn defeats Lanon Baccam, wins reelection bid

in     Iowa’s     3rd     District,    DES      MOINES      REGISTER       (Nov.     6,     2024),

https://www.desmoinesregister.com/story/news/politics/elections/2024/11/05/zach-nunn-lanon-

baccam-face-off-in-iowas-3rd-congressional-district/75777485007/ (last visited Dec. 16, 2024).




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This outcome meant Selzer’s poll had been off by a disastrous eleven points—again in favor of

the Democrat. The odds of a pollster with the experience and track record of Selzer innocently

missing the presidential race, the 1st District race, and the 3rd District race by sixteen points,

sixteen points, and eleven points, respectively, and favoring the Democrat candidates with all three

“misses,” are outside any reasonable range of error. See Piereson, Statistical questions about the

Iowa poll, supra. This is proof of intentional wrongdoing.

        ANSWER: Press Defendants state the election results, article, and poll results referred to

in Paragraph 52 speak for themselves, and Press Defendants deny the allegations stated in

Paragraph 52 to the extent they contradict or mischaracterize those election results, that article, or

those poll results. Press Defendants deny the remaining allegations stated in Paragraph 52.



                                         CLAIMS FOR RELIEF

                                                 COUNT I

                                  Violation of Iowa Consumer Fraud Act
                                         Iowa Code Chapter 714H
                                             (All Defendants)

        53.        Plaintiff realleges his allegations contained in paragraphs 1 through 52 as if set fully

forth herein.

        ANSWER: Press Defendants re-allege their responses to Paragraphs 1 through 52 as if

fully set forth.

        54.        This action is brought pursuant to Iowa Code Chapter 714H and its relevant

provisions.




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       ANSWER: Press Defendants admit that Plaintiff purports to bring a claim for alleged

violation of the Iowa Consumer Fraud Act, Iowa Code Chapter 714H. Press Defendants deny that

they have violated the Iowa Consumer Fraud Act, Iowa Code Chapter 714H.

       55.     Iowa Code § 714H.3(1) provides:

       A person shall not engage in a practice or act the person knows or reasonably should

       know is an unfair practice, deception, fraud, false pretense, or false promise, or the

       misrepresentation, concealment, suppression, or omission of a material fact, with

       intent that others rely upon the unfair practice, deception, fraud, false pretense, false

       promise, misrepresentation, concealment, suppression, or omission in connection

       with the advertisement, sale, or lease of consumer merchandise . . . .

       ANSWER: Press Defendants state that the Iowa Code speaks for itself, and Press

Defendants deny the allegations stated in Paragraph 55 to the extent they contradict or

mischaracterize the Iowa Code. Press Defendants deny that they have violated the Iowa Code §

714H.3(1).

       56.     Iowa Code § 714H.2(3) defines a consumer as “a natural person or the person’s

legal representative.”

       ANSWER: Press Defendants state that the Iowa Code speaks for itself, and Press

Defendants deny the allegations stated in Paragraph 56 to the extent they contradict or

mischaracterize the Iowa Code.

       57.     Iowa Code § 714H.2(5) defines “deception” as “an act or practice that is likely to

mislead a substantial number of consumers as to a material fact or facts.”

       ANSWER: Press Defendants state that the Iowa Code speaks for itself, and Press

Defendants deny the allegations stated in Paragraph 57 to the extent they contradict or




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mischaracterize the Iowa Code. Press Defendants deny they have committed any act of deception

as defined by Iowa Code § 714H.2(5).

       58.      Iowa Code § 714H.2(6) defines “merchandise” the same as the definition contained

in Iowa Code § 714.16, under which the term includes “any objects, wares, goods, commodities,

intangibles, securities, bonds, debentures, stocks, real estate or services.” (Emphasis added).

       ANSWER: Press Defendants state that the Iowa Code speaks for itself, and Press

Defendants deny the allegations stated in Paragraph 58 to the extent they contradict or

mischaracterize the Iowa Code.

       59.      Iowa Code § 714H.2(9) defines “unfair practice” the same as the definition

contained in Iowa Code § 714.16, under which the term “means an act or practice which causes

substantial, unavoidable injury to consumers that is not outweighed by any consumer or

competitive benefits which the practice produces.”

       ANSWER: Press Defendants state that the Iowa Code speaks for itself, and Press

Defendants deny the allegations stated in Paragraph 59 to the extent they contradict or

mischaracterize the Iowa Code. Press Defendants deny they have engaged in any unfair practice

as defined by Iowa Code § 714H.2(9).

       60.      Iowa Code § 714H.5 provides for a private right of action for consumers damaged

by violations of § 714H.3(1):

       1. A consumer who suffers a sustainable loss of money or property as the result

             of a prohibited practice or act in violation of this chapter may bring an action at

             law to recover actual damages. The court may order such equitable relief as it

             deems necessary to protect the public from further violations, including

             temporary and permanent injunctive relief.




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       2. If the court finds that a person has violated this chapter and the consumer is

             awarded actual damages, the court shall award to the consumer the costs of the

             action and the consumer’s attorney reasonable fees.

       ANSWER: Press Defendants state that the Iowa Code speaks for itself, and Press

Defendants deny the allegations stated in Paragraph 60 to the extent they contradict or

mischaracterize the Iowa Code. Press Defendants deny that Plaintiff has a viable cause of action

pursuant to Iowa Code § 714H.5.

       61.      As to the nature of the conduct that constitutes an “unfair practice,” the “Iowa

Consumer Fraud Act ‘is not a codification of common law fraud principles.’” Moeller v. Samsung

Electronics America, Inc., 623 F.Supp.3d 978, 985 (2002) (quoting State ex rel. Miller v. Pace,

677 N.W. 2d 761, 770 (Iowa 2004). “It permits relief upon a lesser showing that the defendant

made a misrepresentation or omitted a material fact ‘with the intent that others rely upon the . . .

omission.’” Id. (quoting § 714.16(2)(a)). “A course of conduct contrary to what an ordinary

consumer would anticipate contributes to a finding of an unfair practice. State ex rel. Miller v.

Vertrue, Inc., 834 N.W.2d 12, 37 (Iowa 2023).

       ANSWER: Press Defendants state that the case Moeller v. Samsung Elecs. Am., Inc. speaks

for itself, and Press Defendants deny the allegations stated in Paragraph 61 to the extent they

contradict or mischaracterize that case. Press Defendants deny they have engaged in any unfair

practice.

       62.      President Trump, together with all Iowa and American voters, is a “consumer”

within the meaning of the statute.

       ANSWER: Press Defendants deny the allegations stated in Paragraph 62.




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       63.     Defendants furnished “merchandise” to consumers within the broad meaning of the

statute since they provided a service: physical newspapers, online newspapers, and other content

that contained the Harris Poll.

       ANSWER: Press Defendants state the allegations in Paragraph 63 are a legal conclusion

to which no response is required. To the extent a response is required, Press Defendants deny the

allegations stated in Paragraph 63.

       64.     Defendants engaged in “deception” because the Harris Poll was “likely to mislead

a substantial number of consumers as to a material fact or facts,” to wit: the actual position of the

respective candidates in the Iowa Presidential race.

       ANSWER: Press Defendants deny the allegations stated in Paragraph 64.

       65.     Defendants engaged in an “unfair act or practice” because the publication and

release of the Harris Poll “cause[d] substantial, unavoidable injury to consumers that [was] not

outweighed by any consumer or competitive benefits which the practice produced,” to wit:

consumers, including Plaintiff, were badly deceived and misled as to the actual position of the

respective candidates in the Iowa Presidential race. Moreover, President Trump, the Trump 2024

Campaign, and other Republicans were forced to divert enormous campaign and financial

resources to Iowa based on the deceptive Harris Poll. Consumers within Iowa who paid for

subscriptions to the Des Moines Register or who otherwise purchased the publication were also

badly deceived. Additionally, Iowans who contributed to the Trump 2024 Campaign were

similarly deceived.

       ANSWER: Press Defendants deny the allegations stated in Paragraph 65.

       66.     The Harris Poll was deceptive and misleading, unfair, and the result of

concealment, suppression, and omission of material facts about the true respective positions of




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President Trump and Harris in the Presidential race, all of which were known to Defendants and

should have been disclosed to the public.

       ANSWER: Press Defendants deny the allegations stated in Paragraph 66.

       67.     Moreover, as demonstrated by the leak of the Harris Poll before publication in the

Register Article, Defendants created, published, and released the Harris Poll for the improper

purpose of deceptively influencing the outcome of the 2024 Presidential Election.

       ANSWER: Press Defendants deny the allegations stated in Paragraph 67.

       68.     Pollsters such as Selzer, polling companies such as S&C, and news organizations

such as DMR and Gannett, are responsible for accurately representing the truth of events, not

distorting polls to try and falsely make their preferred candidate appear to be in the lead. Due to

Defendants’ actions, the public could not discern who was truly leading in the Iowa Presidential

race and, as a result, were, or could have been, badly deceived into thinking that Harris was leading

the race.

       ANSWER: Press Defendants deny the allegations stated in Paragraph 68.

       69.     Defendants’ misconduct here gives rise to liability under the Iowa Consumer Fraud

Act because the Harris Poll was deceptive and misleading and involved concealment, suppression,

and omission of material facts. Defendants engaged in this misconduct to improperly influence the

outcome of the 2024 Presidential Election.

       ANSWER: Press Defendants deny the allegations stated in Paragraph 69.

       70.     Because of Defendants’ false, misleading, and deceptive conduct, President Trump

has sustained actual damages due to the need to expend extensive time and resources, including

direct federal campaign expenditures, to mitigate and counteract the harms of the Defendants’




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conduct. Because the Defendants’ conduct was willful and wanton, President Trump is also

entitled to statutory damages three times the actual damages suffered.

       ANSWER: Press Defendants deny the allegations stated in Paragraph 70.

       71.       Additionally, because the Iowa Consumer Fraud Act is equitable in nature,

President Trump is entitled to injunctive relief, including an order enjoining Defendants and their

associates from publishing or releasing any further deceptive polls designed to influence the

outcome of an election and requiring Defendants to disclose all data and information upon which

they relied in creating, publishing, and releasing the Harris Poll.

       ANSWER: Press Defendants deny the allegations stated in Paragraph 71.

                                  CONCLUSION AND PRAYER

       WHEREFORE, Plaintiff PRESIDENT DONALD J. TRUMP demands judgment against

Defendants J. ANN SELZER, SELZER & COMPANY, DES MOINES REGISTER AND

TRIBUNE COMPANY, and GANNETT CO., INC. as follows:

       (a) On Count One, actual damages to be determined upon trial of this action;

       (b) On Count One, statutory damages three times the actual damages suffered;

       (c) On Count One, an order enjoining Defendants’ ongoing deceptive and misleading acts

             and practices relating to the Harris Poll and compelling Defendants to disclose all

             information upon which they relied to engage in the deceptive and misleading acts

             relating to the Harris Poll;

       (d) The attorneys’ fees and costs associated with this action; and

       (e) Such other relief as the Court deems just and proper.




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        ANSWER: Press Defendants deny Plaintiff’s prayer for relief and all of its subparts and

specifically deny that Plaintiff sustained or should be awarded any damages, fees, or costs

whatsoever or that Plaintiff is entitled to any injunctive or declaratory relief.

                          AFFIRMATIVE AND OTHER DEFENSES
        For its affirmative and other defenses, and without assuming any burdens of proof or

persuasion that would otherwise rest on Plaintiff, Press Defendants state the following:

        A.      Plaintiff’s Petition fails to state facts sufficient to constitute any cause of action

upon which relief can be granted.
        B.      Plaintiff’s claim is barred, in whole or in part, by the doctrines of waiver and/or

ratification.

        C.      Plaintiff’s claim is barred, in whole or in part, because any award would constitute

unjust enrichment.

        D.      Plaintiff’s claim is barred, in whole or in part, by the doctrines of estoppel and

equitable estoppel.

        E.      Plaintiff’s claim is barred, in whole or in part, for lack of any actual injury or

standing to assert a claim.

        F.      If Plaintiff is seeking actual damages on behalf of himself, Plaintiff’s claim is

barred, in whole or in part, because he failed to mitigate his damages, if any.

        G.      Plaintiff’s alleged damages are barred because they were proximately caused in

whole or in part by the acts or omissions of Plaintiff.

        H.      Plaintiff’s claim is barred, in whole or in part, by the applicable statute of

limitations.

        I.      Plaintiff’s claim is barred, in whole or in part, by the doctrine of laches.

        J.      Plaintiff’s claim is barred, in whole or in part, by the doctrine of unclean hands.

        K.      To the extent that Plaintiff may seek recovery of attorneys’ fees, such fees are not

recoverable under Iowa law.

        L.      Plaintiff’s claim is barred, in whole or in part, by the voluntary payment doctrine.


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           M.   Plaintiff’s claim is barred, in whole or in part, by accord and satisfaction.

           N.   Plaintiff’s claim is barred to the extent it has been released or settled.

           O.   Any claims for equitable relief are barred because Plaintiff has adequate remedies

at law.

           P.   Press Defendants acted reasonably and in good faith at all material times based on

all relevant facts and circumstances known by them at the time they acted.

           Q.   Plaintiff’s claim is subject to a mandatory arbitration provision pursuant to The

Register’s terms and conditions.

           R.   Plaintiff’s claim for damages is subject to the limitation of remedy provision in The

Register’s terms and conditions.

           S.   Plaintiff’s claim premised on alleged “fake news” consisting of Press Defendants’

political campaign reporting is categorically prohibited by the First Amendment to the United

States Constitution.

           T.   Plaintiff’s claim is barred to the extent the allegedly actionable statements are

substantially true.

           U.   Plaintiff’s claim is barred to the extent the allegedly actionable news reporting is

not actionable as unverifiable expressions of opinion and/or estimates of future voting behavior.

           V.   Plaintiff’s claim is barred because he cannot carry his burden of proving the falsity

of the allegedly actionable statements.

           W.   Plaintiff’s claim is barred because the news reports complained of were published

in good faith without actual malice, meaning knowledge of falsity or reckless disregard of probable

falsity.

           X.   Plaintiff’s claim is barred because the subject matter of the alleged injurious

falsehoods involved a matter of public interest, and the news reports complained of were published

with due regard for the standards of information gathering and dissemination ordinarily followed

by responsible parties, and are therefore not actionable.




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       Y.      Press Defendants at all times relevant hereto exercised reasonable care and

diligence in the course of preparing and publishing the matters complained of.

       Z.      Plaintiff’s claim is barred because the news reporting complained of addressed

matters within the sphere of legitimate public interest and/or was reasonably related to matters

warranting public exposition.

       AA.     Plaintiff’s claim is barred because Press Defendants acted without fault as required

by the Iowa State and federal Constitutions in all of their speech and conduct.

       BB.     Plaintiff’s claim is barred because Press Defendants acted without the requisite

scienter, both in the constitutional sense and in the common law sense, in all of their speech and

conduct.

       CC.     Plaintiff’s claim is prohibited, in whole or in part, by the First and Fourteenth

Amendments to the United States Constitution and by applicable law.

       DD.     Press Defendants owe no duty in law or equity to Plaintiff.

       EE.     Plaintiff has not suffered any actual harm or damages as a result or proximate cause

of the acts alleged in the Petition, or as a result or proximate cause of the allegedly actionable news

reports on which his claims are predicated.

       FF.     Upon information and belief, Plaintiff is precluded from recovering exemplary or

punitive damages as a matter of law.

       GG.     The news reports complained of in the Petition cannot be the basis for a claim of

exemplary or punitive damages as a matter of law because they were not published with both

knowledge of falsity or reckless disregard of probable falsity, and common law malice.

       Press Defendants also expressly reserve and assert all affirmative defenses available under

any applicable law. Press Defendants reserve their right to supplement their Answer and to assert

additional defenses in the event that discovery or other means indicate that such additional

defenses would be applicable.




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       WHEREFORE, Press Defendants respectfully request that the Court:

       A.      Dismiss Plaintiff’s claim against Press Defendants with prejudice and on the merits;

       B.      Award Press Defendants all costs, disbursements, and reasonable attorneys’ fees

allowed by law; and

       C.      Grant Press Defendants such other further relief the Court deems just and

appropriate.

       D.      Press Defendants demand a trial by jury on all issues so triable.


Dated July 1, 2025                           FAEGRE DRINKER BIDDLE & REATH LLP

                                             /s/ Nick Klinefeldt
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                                             David Yoshimura, AT0012422
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                                             ATTORNEYS FOR DEFENDANTS DES
                                             MOINES REGISTER AND TRIBUNE
                                             COMPANY AND GANNETT CO., INC.




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                                 CERTIFICATE OF SERVICE
       I certify that on July 1, 2025, I electronically filed the foregoing with the Clerk of Court

using the ECF system, which will send notification of such filing to all parties participating in the

Court’s electronic filing system.



                                                      /s/ Paulette Ohnemus




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